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     Attorneys for Plaintiffs
 7
                                  UNITED STATES DISTRICT COURT
 8
                                       DISTRICT OF NEVADA
 9   Michele Mullins and Cassandra Holland,        ) Case No.: 2:21-cv-01294-RFB-BNW
10
                                                   )
              Plaintiffs,                          )
11                                                 )
     vs.                                           )
12                                                 )
     Las Vegas Metropolitan Police Department a    )
13   political subdivision of the State of Nevada; )
14
     Nevada Property 1, LLC, a foreign Limited     )
     Liability Company, d/b/a The Cosmopolitan of  ) STIPULATION AND ORDER TO
15   Las Vegas; LVMPD Employees, DOES 1-10, Does )                 DISMISS
     11-20, and Security Officers/Employees        )
16   DOES 21-30,                                   )
                                                   )
17
                                    Defendants.    )
18   __________________________________________)

19         NOW COME the parties hereto and herewith stipulate that this action be dismissed,

20   ///
21
     ///
22
     ///
23
     ///
24
     ///
25

26   ///

27   ///
28
           Nersesian & Sankiewicz                                                              1
             528 South Eighth Street
           Case 2:21-cv-01294-RFB-BNW Document 26 Filed 11/15/21 Page 2 of 2




     each party to bear their own costs and attorney’s fees. There is no trial currently scheduled in the
 1
     within matter.
 2

 3   DATED this 12th day of November, 2021.

 4
     NERSESIAN & SANKIEWICZ
 5
   /s/ Robert A. Nersesian_________
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   Attorneys for Plaintiffs
10
     DATED this 12th day of November, 2021.                DATED this 12th day of November, 2021.
11

12   MARQUIS AURBACH COFFING                               WILSON, ELSER, MOSKOWITZ,
                                                           EDELMAN & DICKER LLP
13

14   /s/ Jackie V. Nichols______________                   /s/ Chris J. Richardson____________
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18   Attorneys for Defendant, Las Vegas                    Attorneys for Defendant, Nevada Property 1
     Metropolitan Police Department                        LLC d/b/a The Cosmopolitan of Las Vegas
19

20

21

22                                                 IT IS SO ORDERED.

23
                                                   ____________________________________
24                                                 RICHARD F. BOULWARE, II
                                                   UNITED STATES DISTRICT JUDGE
25

26
                                                           November 13, 2021
                                                   DATED: _______________________
27

28
           Nersesian & Sankiewicz                                                                   2
              528 South Eighth Street
